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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION



  BRIAN CRESSLER,                        Case No. CV 19-06553-PSG (DFM)

           Petitioner,                   JUDGMENT

              v.

  ON HABEAS CORPUS,

           Respondent.


       Pursuant to the Court’s Order Accepting the Final Report and
 Recommendation of United States Magistrate Judge,
       IT IS ADJUDGED that the First Amended Petition is untimely, and
 this action dismissed with prejudice.


  Date: 1/8/21                            ___________________________
                                          PHILIP S. GUTIERREZ
                                          Chief United States District Judge
